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                              UNITED STATES DISTRICT COURT FOR
                              THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  JULIA HUBBARD and KAYLA                           §
  GOEDINGHAUS,                                      §
                                                    §
                                  Plaintiffs,       §    Case No. 5:23-cv-00580-FB
   v.                                               §
                                                    §
  TRAMMELL S. CROW, JR., DR.                        §    Judge: Hon. Fred Biery
  BENJAMIN TODD ELLER,                              §    Date Action Filed: May 8, 2023
  RICHARD HUBBARD, DR.                              §    (transferred)
  MELISSA MILLER, DR. JOSEPH                        §
  BOLIN, DR. SCOTT WOODS, DR.                       §
  MRUGESHKUMAR SHAH,                                §
  MICHAEL CAIN, COE JURACEK,                        §
  PHILIP ECOB, H.J. COLE, TEXAS                     §
  RANGER CODY MITCHELL,                             §
  KURT KNEWITZ, PAUL                                §
  PENDERGRASS, RALPH                                §
  ROGERS, ROBERT PRUITT,                            §
  SCOTT BRUNSON, CASE                               §
  GROVER, RICHARD BUTLER,                           §
  MARK MOLINA, MICHAEL                              §
  HYNES, JR., SHAWN MAYER,                          §
  JADE MAYER, RCI                                   §
  HOSPITALITY HOLDINGS, INC.,                       §
  INTEGRITY BASED                                   §
  MARKETING, LLC, STORM                             §
  FITNESS NUTRITION, LLC,                           §
  ULTRA COMBAT NUTRITION,                           §
  LLC, ECOLOFT HOMES LLC,                           §
  ELEVATED WELLNESS                                 §
  PARTNERS LLC, DOE                                 §
  INDIVIDUALS 1–20, and DOE                         §
  COMPANIES 21–30                                   §

                           Defendants.




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                          NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE JUDGE OF THE COURT:

         Defendant, DR. BENJAMIN TODD ELLER, files this Notice of Appearance of

Counsel, notifying the Court that William H. Ford, State Bar No. 07246700, Gregory

A. Scrivener, State Bar No. 24013480, and Kennedy Hatfield Asel, State Bar No.

24121663, of FORD MURRAY, PLLC, 10001 Reunion Place, Suite 640, San Antonio,

Texas 78216; Telephone (210) 731-6400 and Facsimile (210) 731-6401, are now

appearing as counsel of record, and William H. Ford is designated as lead counsel of

record for DR. BENJAMIN TODD ELLER for all further proceedings in this cause.

DR. BENJAMIN TODD ELLER requests all communications from the Court or other

counsel with respect to this suit be sent to the undersigned.

                                          Respectfully submitted,



                                          ______________________________
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                                             (210) 731-6401 Facsimile
                                             ATTORNEYS FOR DEFENDANT,
                                             DR. BENJAMIN TODD ELLER


                                  CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing document has been
served on all counsel of record in this matter as required by the Federal Rules of Civil
Procedure on this 16th day of October, 2024.




                                            ________________________________________
                                            WILLIAM H. FORD




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Notice of Appearance of Counsel
